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                              EXHIBIT
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  PEDRO CRUZ-PEÑA, on behalf of himself,
  individually, and on behalf of all others similarly
  situated,
                                                                    24 CV 6263 (PKC) (RML)
                            Plaintiff,

            -against-

  GREAT KITCHEN SUPPORT CORP., and
  CHRISTIAN DIAZ, individually,

                            Defendants.



             REMINDER – DEADLINE TO JOIN LAWSUIT IS
                       [INSERT DUE DATE]
       Important: You are NOT being sued. This Notice is NOT a solicitation from a lawyer.
                                    The Court authorized this Notice.

 This letter is to remind you that the deadline to opt-in to the wage-and-hour lawsuit currently pending
 against GREAT KITCHEN SUPPORT CORP. is [INSERT]. If you want to participate in the lawsuit
 as detailed in the prior “Court Authorized Notice of Lawsuit” that was mailed to you on [INSERT DATE
 OF MAILING], and is also enclosed herewith for your convenience, you must take two steps:

 STEP 1:         COMPLETE AND SIGN THE ATTACHED “CONSENT TO JOIN LAWSUIT”
                 FORM; AND

 STEP 2:         MAIL THE “CONSENT TO JOIN LAWSUIT” FORM TO THE ADDRESS
                 BELOW TO ALLOW FOR FILING BY ON OR BEFORE [INSERT DUE DATE]:

         Borrelli & Associates, P.L.L.C.                 You can also: fax the Consent to Join Lawsuit
         910 Franklin Avenue, Suite 205                  form to: (516) 248-6027; or scan and email it to:
         Garden City, New York 11530                     apc@employmentlawyernewyork.com


 If you are receiving this Notice, you should only make your decision to participate in this lawsuit after
 reviewing the information contained in the “Court Authorized Notice of Lawsuit.” If you have not received
 the “Court Authorized Notice of Lawsuit” you may contact Borrelli & Associates, P.L.L.C., either by
 telephone at (516) 248-5550, or by e-mail at apc@employmentlawyernewyork.com, to request a copy.

 THE COURT HAS NOT TAKEN ANY POSITION IN THIS CASE REGARDING THE MERITS OF
 THE PLAINTIFFS’ CLAIMS OR OF THE DEFENDANT’S DEFENSES.
